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                      Exhibit A
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                                                                    [PUBLISH]

              IN THE UNITED STATES COURT OF APPEALS

                      FOR THE ELEVENTH CIRCUIT
                        ________________________

                              No. 20-14418
                        ________________________

                    D.C. Docket No. 1:20-cv-04651-SDG



L. LIN WOOD, JR.,

                                                            Plaintiff-Appellant,
                                   versus

BRAD RAFFENSPERGER, in his official capacity as Secretary of State of the
State of Georgia,
REBECCA N. SULLIVAN, in her official capacity as Vice Chair of the Georgia
State Election Board, et al.,

                                                         Defendants-Appellees.

                        ________________________

                 Appeal from the United States District Court
                    for the Northern District of Georgia
                        _______________________

                             (December 5, 2020)

Before WILLIAM PRYOR, Chief Judge, JILL PRYOR and LAGOA, Circuit
Judges.

WILLIAM PRYOR, Chief Judge:
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      This appeal requires us to decide whether we have jurisdiction over an

appeal from the denial of a request for emergency relief in a post-election lawsuit.

Ten days after the presidential election, L. Lin Wood Jr., a Georgia voter, sued

state election officials to enjoin certification of the general election results, to

secure a new recount under different rules, and to establish new rules for an

upcoming runoff election. Wood alleged that the extant absentee-ballot and recount

procedures violated Georgia law and, as a result, his federal constitutional rights.

After Wood moved for emergency relief, the district court denied his motion. We

agree with the district court that Wood lacks standing to sue because he fails to

allege a particularized injury. And because Georgia has already certified its

election results and its slate of presidential electors, Wood’s requests for

emergency relief are moot to the extent they concern the 2020 election. The

Constitution makes clear that federal courts are courts of limited jurisdiction, U.S.

Const. art. III; we may not entertain post-election contests about garden-variety

issues of vote counting and misconduct that may properly be filed in state courts.

We affirm.

                                  I. BACKGROUND

      Secretary of State Brad Raffensperger is the “chief election official” of

Georgia. Ga. Code Ann. § 21-2-50(b). He manages the state system of elections

and chairs the State Election Board. Id. § 21-2-30(a), (d). The Board has the



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authority to promulgate rules and regulations to ensure uniformity in the practices

of county election officials and, “consistent with law,” to aid “the fair, legal, and

orderly conduct of primaries and elections.” Id. § 21-2-31(1)–(2). The Board may

also publish and distribute to county election officials a compilation of Georgia’s

election laws and regulations. Id. § 21-2-31(3). Many of these laws and regulations

govern absentee voting.

      Any voter in Georgia may vote by absentee ballot. Id. § 21-2-380(b). State

law prescribes the procedures by which a voter may request and submit an

absentee ballot. Id. §§ 21-2-381; 21-2-384; 21-2-385. The ballot comes with an

oath, which the voter must sign and return with his ballot. Id. § 21-2-385(a). State

law also prescribes the procedures for how county election officials must certify

and count absentee ballots. Id. § 21-2-386(a). It directs the official to “compare the

identifying information on the oath with the information on file” and “compare the

signature or mark on the oath with the signature or mark” on file. Id.

§ 21-2-386(a)(1)(B). If everything appears correct, the official certifies the ballot.

Id. But if there is a problem, such as a signature that does not match, the official is

to “write across the face of the envelope ‘Rejected.’” Id. § 21-2-386(a)(1)(C). The

government must then notify the voter of this rejection, and the voter may cure the

problem. Id.




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      In November 2019, the Democratic Party of Georgia, the Democratic

Senatorial Campaign Committee, and the Democratic Congressional Campaign

Committee challenged Georgia’s absentee ballot procedures as unconstitutional

under the First and Fourteenth Amendments. They sued Secretary Raffensperger

and members of the Board for declaratory and injunctive relief. Secretary

Raffensperger and the Board maintained that the procedures were constitutional,

but they agreed to promulgate regulations to ensure uniform practices across

counties. In March 2020, the parties entered into a settlement agreement and

dismissed the suit.

      In the settlement agreement, Secretary Raffensperger and the Board agreed

to issue an Official Election Bulletin regarding the review of signatures on

absentee ballots. The Bulletin instructed officials to review the voter’s signature

with the following process:

      If the registrar or absentee ballot clerk determines that the voter’s
      signature on the mail-in absentee ballot envelope does not match any
      of the voter’s signatures on file . . . , the registrar or absentee ballot
      clerk must seek review from two other registrars, deputy registrars, or
      absentee ballot clerks. A mail-in absentee ballot shall not be rejected
      unless a majority of the registrars, deputy registrars, or absentee ballot
      clerks reviewing the signature agree that the signature does not match
      any of the voter’s signatures on file . . . .

Secretary Raffensperger and the Board also agreed to train county election officials

to follow this process.




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      This procedure has been in place for at least three elections since March,

including the general election on November 3, 2020. Over one million Georgians

voted by absentee ballot in the general election. No one challenged the settlement

agreement until the filing of this action. By then, the general election returns had

been tallied and a statewide hand recount of the presidential election results was

underway.

      On November 13, L. Lin Wood Jr. sued Secretary Raffensperger and the

members of the Board in the district court. Wood alleged that he sued “in his

capacity as a private citizen.” He is a registered voter in Fulton County, Georgia,

and a donor to various 2020 Republican candidates. His amended complaint

alleged that the settlement agreement violates state law. As a result, he contends, it

violates the Election Clause of Article I; the Electors Clause of Article II; and the

Equal Protection Clause of the Fourteenth Amendment. See U.S. Const. art. I, § 4,

cl. 1; id. art. II, § 1, cl. 2; id. amend. XIV, § 1. Wood also alleged that irregularities

in the hand recount violated his rights under the Due Process Clause of the

Fourteenth Amendment. Id. amend. XIV, § 1.

      State law requires that such recounts be done in public view, and it permits

the Board to promulgate policies that facilitate recounting. Ga. Code Ann.

§ 21-2-498(c)(4), (d). Secretary Raffensperger directed county election officials to

designate viewing areas for members of the public and the news media to observe



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the recount. He also permitted the Democratic and Republican Parties to designate

special recount monitors.

       Wood alleged that officials ignored their own rules and denied Wood and

President Donald Trump’s campaign “meaningful access to observe and monitor

the electoral process.” Although Wood did not personally attempt to observe or

monitor the recount, he alleged that Secretary Raffensperger and the Board

violated his “vested interest in being present and having meaningful access to

observe and monitor the electoral process to ensure that it is properly administered

. . . and . . . otherwise free, fair, and transparent.”

       Wood submitted two affidavits from volunteer monitors. One monitor stated

that she was not allowed to enter the counting area because there were too many

monitors already present, and she could not be sure from a distance whether the

recount was accurate. The other explained that the counting was hard for her to

follow and described what she thought were possible tabulation errors.

       Wood moved for extraordinary relief. He asked that the district court take

one of three steps: prohibit Georgia from certifying the results of the November

election; prevent it from certifying results that include “defective absentee ballots,

regardless of whether said ballots were cured”; or declare the entire election

defective and order the state to fix the problems caused by the settlement

agreement. He also sought greater access for Republican election monitors, both at



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a new hand recount of the November election and in a runoff election scheduled

for January 5, 2021.

      Wood’s lawsuit faced a quickly approaching obstacle: Georgia law requires

the Secretary of State to certify its general election results by 5:00 p.m. on the

seventeenth day after Election Day. Ga. Code Ann. § 21-2-499(b). And it requires

the Governor to certify Georgia’s slate of presidential electors by 5:00 p.m. on the

eighteenth day after Election Day. Id. Secretary Raffensperger’s deadline was

November 20, and Governor Brian Kemp had a deadline of November 21.

      To avoid these deadlines, Wood moved to bar officials from certifying the

election results until a court could consider his lawsuit. His emergency motion

reiterated many of the requests from his amended complaint, including requests for

changes to the procedures for the January runoff. He also submitted additional

affidavits and declarations in support of his motion.

      The district court held a hearing on November 19 to consider whether it

should issue a temporary restraining order. It heard from Wood, state officials, and

two groups of intervenors. Wood also introduced testimony from Susan Voyles, a

poll manager who participated in the hand recount. Voyles described her

experience during the recount. She recalled that one batch of absentee ballots felt

different from the rest, and that that batch favored Joe Biden to an unusual extent.

At the end of the hearing, the district court orally denied Wood’s motion.



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      On November 20, the district court issued a written opinion and order that

explained its denial. It first ruled that Wood lacked standing because he had

alleged only generalized grievances, instead of injuries that affected him in a

personal and individual way. It next explained that, even if Wood had standing, the

doctrine of laches prevented him from challenging the settlement agreement now:

he could have sued eight months earlier, yet he waited until two weeks after the

election. Finally, it explained why Wood would not be entitled to a temporary

restraining order even if the district court could reach the merits of his claims. On

the same day, Secretary Raffensperger certified the results of the general election

and Governor Kemp certified a slate of presidential electors.

                          II. STANDARD OF REVIEW

      “We are required to examine our jurisdiction sua sponte, and we review

jurisdictional issues de novo.” United States v. Lopez, 562 F.3d 1309, 1311 (11th

Cir. 2009) (citation omitted).

                                 III. DISCUSSION

      This appeal turns on one of the most fundamental principles of the federal

courts: our limited jurisdiction. Federal courts are not “constituted as free-wheeling

enforcers of the Constitution and laws.” Initiative & Referendum Inst. v. Walker,

450 F.3d 1082, 1087 (10th Cir. 2006) (en banc). As the Supreme Court “ha[s]

often explained,” we are instead “courts of limited jurisdiction.” Home Depot



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U.S.A., Inc. v. Jackson, 139 S. Ct. 1743, 1746 (2019) (internal quotation marks

omitted). Article III of the Constitution establishes that our jurisdiction—that is,

our judicial power—reaches only “Cases” and “Controversies.” U.S. Const. art. III,

§ 2. Absent a justiciable case or controversy between interested parties, we lack the

“power to declare the law.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94

(1998).

      When someone sues in federal court, he bears the burden of proving that his

suit falls within our jurisdiction. Kokkonen v. Guardian Life Ins. Co. of Am., 511

U.S. 375, 377 (1994). Wood had the choice to sue in state or federal court. Georgia

law makes clear that post-election litigation may proceed in a state court. Ga. Code

Ann. §§ 21-2-499(b), 21-2-524(a). But Wood chose to sue in federal court. In

doing so, he had to prove that his suit presents a justiciable controversy under

Article III of the Constitution. See Flast v. Cohen, 392 U.S. 83, 95 (1968) (listing

examples of problems that preclude our jurisdiction). He failed to satisfy this

burden.

      We divide our discussion in two parts. We first explain why Wood lacks

standing to sue. We then explain that, even if he had standing, his requests to

recount and delay certification of the November election results are moot. Because

this case is not justiciable, we lack jurisdiction. Id. And because we lack the power

to entertain this appeal, we will not address the other issues the parties raise.



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          A. Wood Lacks Standing Because He Has Not Been Injured in a
                               Particularized Way.

      Standing is a threshold jurisdictional inquiry: the elements of standing are

“an indispensable part of the plaintiff’s case.” Lujan v. Defenders of Wildlife, 504

U.S. 555, 561 (1992). To prove standing, Wood “must prove (1) an injury in fact

that (2) is fairly traceable to the challenged action of the defendant and (3) is likely

to be redressed by a favorable decision.” Jacobson v. Fla. Sec’y of State, 974 F.3d

1236, 1245 (11th Cir. 2020). If he cannot satisfy these requirements, then we may

not decide the merits of his appeal. Steel Co., 523 U.S. at 94.

      Wood lacks standing because he fails to allege the “first and foremost of

standing’s three elements”: an injury in fact. Spokeo, Inc. v. Robins, 136 S. Ct.

1540, 1547 (2016) (alteration adopted) (internal quotation marks omitted). An

injury in fact is “an invasion of a legally protected interest that is both concrete and

particularized and actual or imminent, not conjectural or hypothetical.” Trichell v.

Midland Credit Mgmt., Inc., 964 F.3d 990, 996 (11th Cir. 2020) (internal quotation

marks omitted). Wood’s injury is not particularized.

      Wood asserts only a generalized grievance. A particularized injury is one

that “affect[s] the plaintiff in a personal and individual way.” Spokeo, 136 S. Ct. at

1548 (internal quotation marks omitted). For example, if Wood were a political

candidate harmed by the recount, he would satisfy this requirement because he

could assert a personal, distinct injury. Cf. Roe v. Alabama ex rel. Evans, 43 F.3d


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574, 579 (11th Cir. 1995). But Wood bases his standing on his interest in

“ensur[ing that] . . . only lawful ballots are counted.” An injury to the right “to

require that the government be administered according to the law” is a generalized

grievance. Chiles v. Thornburgh, 865 F.2d 1197, 1205–06 (11th Cir. 1989)

(alteration adopted) (internal quotation marks omitted). And the Supreme Court

has made clear that a generalized grievance, “no matter how sincere,” cannot

support standing. Hollingsworth v. Perry, 570 U.S. 693, 706 (2013).

      A generalized grievance is “undifferentiated and common to all members of

the public.” Lujan, 504 U.S. at 575 (internal quotation marks omitted). Wood

cannot explain how his interest in compliance with state election laws is different

from that of any other person. Indeed, he admits that any Georgia voter could bring

an identical suit. But the logic of his argument sweeps past even that boundary. All

Americans, whether they voted in this election or whether they reside in Georgia,

could be said to share Wood’s interest in “ensur[ing] that [a presidential election]

is properly administered.”

      Wood argues that he has two bases for standing, but neither satisfies the

requirement of a distinct, personal injury. He first asserts that the inclusion of

unlawfully processed absentee ballots diluted the weight of his vote. To be sure,

vote dilution can be a basis for standing. Cf. Jacobson, 974 F.3d at 1247–48. But it

requires a point of comparison. For example, in the racial gerrymandering and



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malapportionment contexts, vote dilution occurs when voters are harmed compared

to “irrationally favored” voters from other districts. See Baker v. Carr, 369 U.S.

186, 207–08 (1962). By contrast, “no single voter is specifically disadvantaged” if

a vote is counted improperly, even if the error might have a “mathematical impact

on the final tally and thus on the proportional effect of every vote.” Bognet v. Sec’y

Commonwealth of Pa., __ F.3d __, 2020 WL 6686120, at *12 (3d Cir. Nov. 13,

2020) (internal quotation marks omitted). Vote dilution in this context is a

“paradigmatic generalized grievance that cannot support standing.” Id. (internal

quotation marks omitted).

      Wood’s second theory—that Georgia “value[d] one person’s vote over that

of another” through “arbitrary and disparate treatment”—fares no better. He argues

that Georgia treats absentee voters as a “preferred class” compared to those who

vote in person, both by the terms of the settlement agreement and in practice. In his

view, all voters were bound by law before the settlement agreement, but the rules

for absentee voting now run afoul of the law, while in-person voters remain bound

by the law. And he asserts that in practice Georgia has favored absentee voters

because there were “numerous irregularities” in the processing and recounting of

absentee ballots. Setting aside the fact that “[i]t is an individual voter’s choice

whether to vote by mail or in person,” Bognet, 2020 WL 6686120, at *15, these

complaints are generalized grievances. Even if we assume that absentee voters are



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favored over in-person voters, that harm does not affect Wood as an individual—it

is instead shared identically by the four million or so Georgians who voted in

person this November. “[W]hen the asserted harm is . . . shared in substantially

equal measure by . . . a large class of citizens,” it is not a particularized injury.

Warth v. Seldin, 422 U.S. 490, 499 (1975). And irregularities in the tabulation of

election results do not affect Wood differently from any other person. His

allegation, at bottom, remains “that the law . . . has not been followed.” Dillard v.

Chilton Cnty. Comm’n, 495 F.3d 1324, 1332 (11th Cir. 2007) (quoting Lance v.

Coffman, 549 U.S. 437, 442 (2007)).

      Wood’s attempts to liken his injury to those we have found sufficient in

other appeals fall short. In Common Cause/Georgia v. Billups, we ruled that

“[r]equiring a registered voter either to produce photo identification to vote in

person or to cast an absentee or provisional ballot is an injury sufficient for

standing.” 554 F.3d 1340, 1351–52 (11th Cir. 2009). But the injury there was the

burden of producing photo identification, not the existence of separate rules for in-

person and absentee voters. Id. And the burden to produce photo identification

affected each voter in a personal way. For example, some plaintiffs in Common

Cause alleged that they “would be required to make a special trip” to obtain valid

identification “that is not required of voters who have driver’s licenses or

passports.” Id. at 1351 (internal quotation marks omitted). By contrast, even Wood



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agrees that he is affected by Georgia’s alleged violations of the law in the same

way as every other Georgia voter. “This injury is precisely the kind of

undifferentiated, generalized grievance that the Supreme Court has warned must

not be countenanced.” Dillard, 495 F.3d at 1335 (internal quotation marks

omitted).

      Roe v. Alabama ex rel. Evans, 43 F.3d 574, also does not support Wood’s

argument for standing. In Roe, we ruled that the post-election inclusion of

previously excluded absentee ballots would violate the substantive-due-process

rights of Alabama voters and two political candidates. Id. at 579–81. But no party

raised and we did not address standing in Roe, so that precedent provides no basis

for Wood to establish standing. Cf. Lewis v. Casey, 518 U.S. 343, 352 n.2 (1996)

(noting that in cases where “standing was neither challenged nor discussed . . . the

existence of unaddressed jurisdictional defects has no precedential effect”). And

Wood’s purported injury is far more general than the voters’ injury in Roe. The

voters in Roe bore individual burdens—to obtain notarization or witness signatures

if they wanted to vote absentee—that state courts post-election retroactively

permitted other voters to ignore. Roe, 43 F.3d at 580–81. In contrast, Georgia

applied uniform rules, established before the election, to all voters, who could

choose between voting in person or by absentee ballot, and Wood asserts that the




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effect of those rules harmed the electorate collectively. That alleged harm is not a

particularized injury.

      Wood suggested in his amended complaint that his status as a donor

contributed to standing and aligned his interests with those of the Georgia

Republican Party. But he forfeited this argument when he failed to raise it in his

opening brief. Access Now, Inc. v. Sw. Airlines Co., 385 F.3d 1324, 1335 (11th Cir.

2004); see also Nat’l All. for the Mentally Ill v. Bd. of Cnty. Comm’rs, 376 F.3d

1292, 1296 (11th Cir. 2004) (ruling standing claims forfeited for failure to comply

with the Federal Rules of Appellate Procedure). And the donor argument fails on

its own terms. True, a donor can establish standing based on injuries that flow from

his status as a donor. See, e.g., Wilding v. DNC Servs. Corp., 941 F.3d 1116, 1125

(11th Cir. 2019). But donors, like voters, “have no judicially enforceable interest in

the outcome of an election.” Jacobson, 974 F.3d at 1246. Nor does a donation give

the donor a legally cognizable interest in the proper administration of elections.

Any injury to Wood based on election irregularities must flow from his status as a

voter, unrelated to his donations. And that fact returns him to the stumbling block

of particularization.

      “[T]he ‘injury in fact’ test requires . . . that the party seeking review be

himself among the injured.” Lujan, 504 U.S. at 563 (internal quotation marks

omitted). Wood’s allegations suggest that various nonparties might have a



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particularized injury. For example, perhaps a candidate or political party would

have standing to challenge the settlement agreement or other alleged irregularities.

Or perhaps election monitors would have standing to sue if they were denied

access to the recount. But Wood cannot place himself in the stead of these groups,

even if he supports them. Cf. Glanton ex rel. ALCOA Prescription Drug Plan v.

AdvancePCS Inc., 465 F.3d 1123, 1127 (9th Cir. 2006) (explaining that

“associational standing . . . does not operate in reverse,” so a member cannot

represent an association). He is at most a “concerned bystander.” Koziara v. City of

Casselberry, 392 F.3d 1302, 1305 (11th Cir. 2004) (internal quotation marks

omitted). So he is not “entitled to have the court[s] decide the merits of [his]

dispute.” Warth, 422 U.S. at 498.

   B. Wood’s Requested Relief Concerning the 2020 General Election Is Moot.

      Even if Wood had standing, several of his requests for relief are barred by

another jurisdictional defect: mootness. We are “not empowered to decide moot

questions.” North Carolina v. Rice, 404 U.S. 244, 246 (1971) (internal quotation

marks omitted). “An issue is moot when it no longer presents a live controversy

with respect to which the court can give meaningful relief.” Christian Coal. of

Fla., Inc. v. United States, 662 F.3d 1182, 1189 (11th Cir. 2011) (alteration

rejected) (internal quotation marks omitted). And an issue can become moot at any




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stage of litigation, even if there was a live case or controversy when the lawsuit

began. Id. at 1189–90.

      Wood asked for several kinds of relief in his emergency motion, but most of

his requests pertained to the 2020 election results. He moved the district court to

prohibit either the certification of the election results or certification that included

the disputed absentee ballots. He also asked the district court to order a new hand

recount and to grant Republican election monitors greater access during both the

recount and the January runoff election. But after the district court denied Wood’s

motion, Secretary Raffensperger certified the election results on November 20.

And Governor Kemp certified the slate of presidential electors later that day.

      Because Georgia has already certified its results, Wood’s requests to delay

certification and commence a new recount are moot. “We cannot turn back the

clock and create a world in which” the 2020 election results are not certified.

Fleming v. Gutierrez, 785 F.3d 442, 445 (10th Cir. 2015). And it is not possible for

us to delay certification nor meaningful to order a new recount when the results are

already final and certified. Cf. Tropicana Prods. Sales, Inc. v. Phillips Brokerage

Co., 874 F.2d 1581, 1582 (11th Cir. 1989) (“[A]n appeal from the denial of a

motion for preliminary injunction is mooted when the requested effective end-date

for the preliminary injunction has passed.”). Nor can we reconstrue Wood’s

previous request that we temporarily prohibit certification into a new request that



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we undo the certification. A district court “must first have the opportunity to pass

upon [every] issue,” so we may not consider requests for relief made for the first

time on appeal. S.F. Residence Club, Inc. v. 7027 Old Madison Pike, LLC, 583

F.3d 750, 755 (11th Cir. 2009).

      Wood’s arguments reflect a basic misunderstanding of what mootness is. He

argues that the certification does not moot anything “because this litigation is

ongoing” and he remains injured. But mootness concerns the availability of relief,

not the existence of a lawsuit or an injury. Fla. Wildlife Fed’n, Inc. v. S. Fla. Water

Mgmt. Dist., 647 F.3d 1296, 1304 (11th Cir. 2011). So even if post-election

litigation is not always mooted by certification, see, e.g., Siegel v. LePore, 234

F.3d 1163, 1172–73 (11th Cir. 2000) (en banc), Wood’s particular requests are

moot. Wood is right that certification does not moot his requests for relief

concerning the 2021 runoff—although Wood’s lack of standing still forecloses our

consideration of those requests—but the pendency of other claims for relief cannot

rescue the otherwise moot claims. See, e.g., Adler v. Duval Cnty. Sch. Bd., 112

F.3d 1475, 1478–79, 1481 (11th Cir. 1997) (instructing the district court to dismiss

moot claims but resolving other claims on the merits). Wood finally tells us that

President Trump has also requested a recount, but that fact is irrelevant to whether

Wood’s requests remain live.




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      Nor does any exception to mootness apply. True, we often review otherwise-

moot election appeals because they are “capable of repetition yet evading review.”

ACLU v. The Fla. Bar, 999 F.2d 1486, 1496 (11th Cir. 1993) (internal quotation

marks omitted). We may apply this exception when “(1) the challenged action was

in its duration too short to be fully litigated prior to its cessation or expiration, and

(2) there was a reasonable expectation that the same complaining party would be

subjected to the same action again.” Nat’l Broad. Co. v. Commc’ns Workers of

Am., 860 F.2d 1022, 1023 (11th Cir. 1988) (quoting Weinstein v. Bradford, 423

U.S. 147, 149 (1975)). But we will not apply this exception if there is “some

alternative vehicle through which a particular policy may effectively be subject to”

complete review. Bourgeois v. Peters, 387 F.3d 1303, 1308 (11th Cir. 2004).

      The “capable of repetition yet evading review” exception does not save

Wood’s appeal because there is no “reasonable expectation” that Wood will again

face the issues in this appeal. Based on the posture of this appeal, the challenged

action is the denial of an emergency injunction against the certification of election

results. See Fleming, 785 F.3d at 446 (explaining that whether the issues in an

interlocutory appeal are “capable of repetition, yet evading review” is a separate

question from whether the issues in the overall lawsuit are capable of doing so).

That denial is the decision we would review but for the jurisdictional problems.

But Wood cannot satisfy the requirement that there be a “reasonable expectation”



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that he will again seek to delay certification. Wood does not suggest that this

situation might recur. Cf. FEC v. Wis. Right to Life, Inc., 551 U.S. 449, 463–64

(2007). And we have no reason to think it would: he is a private citizen, so the

possibility of a recurrence is purely theoretical. Cf. Hall v. Sec’y, Ala., 902 F.3d

1294, 1305 (11th Cir. 2018).

                                IV. CONCLUSION

      We AFFIRM the denial of Wood’s motion for emergency relief.




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                                           UNITED STATES COURT OF APPEALS
                                              FOR THE ELEVENTH CIRCUIT

                                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                           56 Forsyth Street, N.W.
                                                           Atlanta, Georgia 30303


David J. Smith                                                                                                        For rules and forms visit
Clerk of Court                                                                                                        www.ca11.uscourts.gov

                                                         December 05, 2020

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 20-14418-RR
Case Style: L. Lin Wood, Jr. v. Brad Raffensperger, et al
District Court Docket No: 1:20-cv-04651-SDG

This Court requires all counsel to file documents electronically using the Electronic Case Files ("ECF") system, unless
exempted for good cause. Non-incarcerated pro se parties are permitted to use the ECF system by registering for an
account at www.pacer.gov. Information and training materials related to electronic filing, are available at
www.ca11.uscourts.gov. Enclosed is a copy of the court's decision filed today in this appeal. Judgment has this day been
entered pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with FRAP 41(b).

The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a petition for rehearing en
banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP 25(a) for inmate filings, a petition for rehearing
or for rehearing en banc is timely only if received in the clerk's office within the time specified in the rules. Costs are governed
by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for attorney's fees and an objection thereto is
governed by 11th Cir. R. 39-2 and 39-3.

Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a complete list of all
persons and entities listed on all certificates previously filed by any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a
copy of the opinion sought to be reheard must be included in any petition for rehearing or petition for rehearing en banc. See
11th Cir. R. 35-5(k) and 40-1 .

Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming compensation for time spent on the
appeal no later than 60 days after either issuance of mandate or filing with the U.S. Supreme Court of a petition for writ of
certiorari (whichever is later) via the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher system.

Pursuant to Fed.R.App.P. 39, costs taxed against appellant.

Please use the most recent version of the Bill of Costs form available on the court's website at www.ca11.uscourts.gov.

For questions concerning the issuance of the decision of this court, please call the number referenced in the signature block
below. For all other questions, please call Regina A. Veals-Gillis, RR at (404) 335-6163.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Jeff R. Patch
Phone #: 404-335-6151

                                                                                            OPIN-1A Issuance of Opinion With Costs
